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                EXHIBIT D
                                Case 6:23-cv-00384-ADA Document 40-6 Filed 12/20/23 Page 2 of 2
directions from 12500 TI blvd dallas to 1100 commerce st dallas - Google Search                                                                  12/20/23, 7:18 AM




                                        directions from 12500 TI blvd dallas to 1100 commerce st
                                                                                              X dallas                                                 mO
               Maps         Perspectives        Shopping           Images   Videos    News      Books       Flights     Finance   All !lters   Tools   SafeSearch



            About 232,000 results (0.47 seconds)




           0       12500 T I Blvd, Dallas, TX 75243


           9       1100 Commerce St, Farmers Branch, TX 75242




                                            MELSHIRE

               I        Forest Ln

                                             \'"'            Forest Ln


                                                                                                Map data ©2023 Google




            13 min (7.4 mi) via I-635 W
                                                                                                          Directions


            14 min (6.2 mi) via Forest Ln


            14 min (6.8 mi) via Forest Ln and I-635 W




                    MapQuest
                    https://www.mapquest.com › directions › q=1100 Co...

            Directions to 1100 Commerce St, Dallas, TX
            Driving Directions to 1100 Commerce St, Dallas, TX including road conditions, live traffic
            updates, and reviews of local businesses along the way.
            Missing: 12500 TI blvd


                    Waze
             G https://www.waze.com › live-map › directions › dallas
            Driving directions to Earle Cabell Federal Building, 1100 ...
            Realtime driving directions to Earle Cabell Federal Building, 1100 Commerce St, Dallas, based
            on live traffic updates and road conditions – from Waze fellow ...
            Missing: 12500 TI


                    MapQuest
                    https://www.mapquest.com › dallas › 1100-commerce...

            1100 Commerce St, Dallas, TX
            View detailed information and reviews for 1100 Commerce St in Dallas, TX and get driving
            directions with road conditions and live traffic updates along the way.
            Missing: 12500 TI




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